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                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                               *                      CRIMINAL DOCKET
 VERSUS                                                 *                      NO: 92-469
 NOAH MOORE, JR.                                        *                      SECTION: "D"


                                            ORDER AND REASONS

         Before the court is the “Motion to Correct Sentence Pursuant

to F.R.Cr.P. Rule 35(a) old Version Prior to November 1, 1987"

(Doc. No. 1104), filed by Noah Moore.                                        The Government filed a

memorandum in response (Doc. No. 1117), and Moore filed a reply

(Doc. No. 1126).                 Now, having considered the memoranda of counsel,

the record, and the applicable law, the court finds that the motion

should be denied.

         On August 27, 1993, following a three-week jury trial, Moore

was     convicted           of     conspiring           from       1985      to     August        9,     1992       of

possessing with intent to distribute cocaine in violation of 21

U.S.C. §846.1             On December 15, 1993, this court sentenced Moore to


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                   Moore was also convicted of using and carrying a firearm in and of drug trafficking activity, but the
Fifth Circuit vacated that conviction under Bailey v. United States, 516 U.S. 137 (1995). United States v. Tolliver, 116
F.3d 120, 126-27 (5th Cir. 1997). On remand from the Fifth Circuit for sentencing, this court vacated the 60-month
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235 months of imprisonment on the conspiracy conviction. The Fifth

Circuit affirmed Moore’s conviction for conspiracy, rejecting

Moore’s claim that the provisions of the Juvenile Delinquency Act

(JDA) deprived this court of jurisdiction over him, that this court

failed       to     instruct         the      jury      that      conduct     prior    to   Moore’s

eighteenth birthday could not be used to assess his guilt, and that

his counsel was ineffective for failing to raise the jurisdictional

implications of his juvenile status. United States v. Tolliver, 61

F.3d 1189, 1199-1201, 1222 (5th Cir. 1995), reversed in part on

other grounds, 116 F.3d 120, 126-27 (5th Cir. 1997).

        This court denied Moore’s subsequent §2255 motion, in which

Moore argued that his counsel was ineffective in failing to invoke

Moore’s juvenile delinquency status and the JDA, §5032. This court

also denied Moore’s request for a certificate of appealability as

legally frivolous.                The Fifth Circuit dismissed Moore’s appeal for

want of prosecution because he failed to file a timely motion for

a certificate of appealability in the Fifth Circuit.                                     The Fifth

Circuit subsequently denied without comment Moore’s Motion for

Recall of Mandate (filed on February 4, 2005), and Moore’s motion

for authorization to file a successive §2255 motion (filed on

February 3, 2006) based on Booker v. United States, 543 U.S. 220



consecutive sentence which had been imposed on that firearms conviction.

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(2005).

         In Moore’s instant motion brought under Federal Rule of

Criminal Procedure 35(a) “old version prior to November 1, 1987,”

Moore again challenges his conviction because the conspiracy began

before his 18th birthday and he claims that the court lacked

jurisdiction under §5032 of the JDA.                                   The former version of Rule

35(a), applicable to offenses committed before November 1, 1987,

provided that a “court may correct an illegal sentence imposed in

an illegal manner within the time provided herein for the reduction

of sentence.”               United States v. Pineda, 988 F.2d 22, 23 n. 2 (5th

Cir. 1993), citing the prior version of Rule 35(a)).2                                                     However,

prior Rule 35(a) is inapplicable here because the conspiracy (for

which Moore was convicted) continued past November 1, 1987.

         Further, prior Rule 35(a) served a limited purpose to permit

correction of an illegal sentence.                                  It cannot be used, as Moore

does here, to challenge his underlying conviction and “to re-

examine errors occurring at trial or other proceedings prior to the



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                  Following the November 1, 1987 amendments to Rule 35, Rule 35 permitted a district court to correct
a sentence only on a remand following an appellate finding of error. United States v. Rivera, 376 F.3d 86, 90(2nd Cir.
2004).

                   Effective December 1, 1991, Rule 35 was amended authorizing a district court to correct obvious
arithmetical, technical or other clear errors within 7 days of sentencing. Other amendments followed, leading to the
current version of Rule 35(a) which allows a district court, within 14 days after sentencing, to “correct a sentence that
resulted from arithmetical, technical, or other clear error.” Fed. R. Crim. P. 35(a). Under this current version of Rule
35(a), Moore’s motion is untimely because he was sentenced on December 15, 1993 and filed this motion on March 15,
2010.

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imposition of sentence.” Hill v. United States, 368 U.S. 424, 430,

82 S.Ct. 468, 7 L.Ed.2d 417 (1982).

        Because Moore’s instant motion cannot properly be brought as

a Rule 35(a) motion, the court construes it as a motion to vacate,

correct or set aside his sentence under 28 U.S.C. §2255.                           As a

§2255    motion,   the   motion   must       be   dismissed    because    it   is     a

successive §2255 motion, and Moore has not shown that he obtained

authorization from the Fifth Circuit to file a successive §2255

motion.

        Accordingly;

        IT IS ORDERED that Noah Moore’s “Motion to Correct Sentence

Pursuant to F.R.Cr.P. Rule 35(a) old Version Prior to November 1,

1987" (Doc. No. 1104) be and is hereby DENIED.

        New Orleans, Louisiana, this 19th day of July, 2010.




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                                                       A.J. McNAMARA
                                               UNITED STATES DISTRICT JUDGE




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